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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                      Plaintiff,
                                                     Case No. 1:07-cr-7
v.
                                                     HONORABLE PAUL L. MALONEY
EDDIE JEROME MILLS,

                  Defendant.
_________________________________/

               ORDER ADOPTING REPORT AND RECOMMENDATION

       The Court has reviewed the Report and Recommendation filed by United States

Magistrate Judge Ellen S. Carmody in this action. The Report and Recommendation was duly

served on the parties, and no objection has been made thereto within the time required by law.

       THEREFORE, IT IS ORDERED that:

       1.      The Report and Recommendation of the Magistrate Judge (Dkt. #80) is approved

and adopted as the opinion of the Court.

       2.      Defendant’s plea of guilty is accepted and defendant is adjudicated guilty of the

charges set forth in Counts One, Three, Five, Six and Seven of the Indictment.

       3.      The written plea agreement is hereby continued under advisement pending

sentencing.


Date: October 17, 2007                                /s/ Paul L. Maloney
                                                     Paul L. Maloney
                                                     United States District Judge
